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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
USA §
vs. : NO: SA:18-CR-00106(1)-OLG
(1) Christian Isidro Vazquez-Vazquez ;

FORM NOTICE TO:

(A) WAIVE PERSONAL APPEARANCE AT ARRAIGNMENT AND ENTER
PLEA OF NOT GUILTY, OR ALTERNATIVELY PROVIDE STATEMENT
REGARDING CONSENT TO ARRAIGNMENT BY VIDEO
TELECONFERENCE;

(B) WAIVE MINIMUM TIME TO TRIAL; AND

(C) CONSENT TO DISPOSITION OF MISDEMEANOR OFFENSE BYA
UNITED STATES MAGISTRATE JUDGE

WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND ENTRY
OF PLEA OF NOT GUILTY

NOW COMES Defendant in the above-referenced case who, along with his/her undersigned
attorney, hereby acknowledges the following:

1) Defendant has received a copy of the charging document in this case.

2) Defendant has read the charging document or had it read to him/her.

3) Defendant understands he/she has the right to appear personally with his/her attorney
before a Judge for Arraignment in open Court on this accusation. Defendant further understands
that, absent the present waiver, he/she will be so arraigned in open Court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal
appearance with his/her attorney at the arraignment of this case and the reading of the charging
document and, by this instrument, tenders his/her plea of "not guilty". The defendant understands
that entry by the Court of said plea for defendant will conclude the arraignment in this case for all
purposes. Defendant request the Court accept his/her waiver of appearance and enter a plea of
"not guilty."

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Date Defendant oe
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a. ~4a-)_ x Name of Attorney for Defendant (Print)
Z/-1 ae
Date Signature of A#Omey for Defendant

THIS WAIVER FORM MUST BE FILED IN THE CLERK'S OFFICE NO LATER
THAN 5:00 P.M. ON THE DAY BEFORE THE SCHEDULED DATE OF
ARRAIGNMENT. IF A WAIVER FORM IS NOT SUBMITTED BY THAT TIME, THE
DEFENDANT AND DEFENDANT'S ATTORNEY MUST APPEAR FOR THE
ARRAIGNMENT AS SCHEDULED.

STATEMENT REGARDING CONSENT TO ARRAIGNMENT BY
VIDEO TELECONFERENCE

The U.S. Magistrate Judge may conduct arraignment by video teleconference if the
defendant consents. See FED. R. CRIM. P. 10(c).

PLEASE INDICATE YOUR CONSENT OR NON-CONSENT TO AN ARRAIGNMENT
BY VIDEO TELECONFERENCE BELOW:

I CONSENT TO ARRAIGNMENT BY VIDEO TELECONFERENCE

I DO NOT CONSENT TO ARRAIGNMENT BY VIDEO TELECONFERENCE

Date Defendant

Name of Attomey for Defendant (Print)

Date Signature of Attorney for Defendant

NO RESPONSE OR OMISSION OF THIS PAGE WILL BE INTERPRETED AS AN
INDICATION THAT THE DEFENDANT INTENDS TO CONSENT TO THE
MAGISTRATE JUDGE CONDUCTING THE ARRAIGNMENT BY VIDEO
TELECONFERENCE.

